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   1 KELLY M. KLAUS (CA Bar No. 161091)
     kelly.klaus@mto.com
   2 ELIZABETH A. KIM (CA Bar No. 295277)
     elizabeth.kim@mto.com
   3 MUNGER, TOLLES & OLSON LLP
     350 South Grand Avenue, Fiftieth Floor
   4 Los Angeles, California 90071-3426
     Telephone: (213) 683-9100
   5 Facsimile: (213) 687-3702
   6 MICHAEL B. DESANCTIS (admitted pro hac vice)
     michael.desanctis@mto.com
   7 MUNGER, TOLLES & OLSON LLP
     1155 F Street N.W., Seventh Floor
   8 Washington, D.C. 20004-1357
     Telephone: (202) 220-1100
   9 Facsimile: (202) 220-2300
  10 KAREN R. THORLAND (CA Bar No. 172092)
     karen_thorland@mpaa.org
  11 MOTION PICTURE ASSOCIATION OF AMERICA, INC.
     15301 Ventura Blvd., Building E
  12 Sherman Oaks, California 91403
     Telephone: (818) 935-5812
  13
     Attorneys for Plaintiffs
  14
  15                        UNITED STATES DISTRICT COURT
  16          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  17
  18 Universal City Studios LLC; Columbia    Case No. 2:17-cv-07496-MWF(AS)
     Pictures Industries, Inc.; Disney
  19 Enterprises, Inc.; Twentieth Century    DECLARATION OF DAVID P.
     Fox Film Corporation; Paramount         KAPLAN
  20 Pictures Corporation; Warner Bros.
     Entertainment Inc.; Amazon Content      Date: Jan. 8, 2018
  21 Services, LLC; Netflix Studios, LLC,    Time: 10:00 a.m.
                                             Ctrm: 5A (Hon. Michael W. Fitzgerald)
  22              Plaintiffs,                Filed concurrently:
                                              Notice of Motion and Motion for
  23        vs.                               Preliminary Injunction; Memorandum
                                              of Points and Authorities in Support
  24 Tickbox TV LLC,                          Thereof
                                              Declaration of Prof. Ian Foster
  25              Defendant.                  Declaration of Jan van Voorn
                                              Declaration of Kelly M. Klaus
  26                                          [Proposed] Order
  27
  28

                                                       DECLARATION OF DAVID P. KAPLAN
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   1 I, David P. Kaplan, declare as follows:
   2         1.    I am Senior Vice President and Intellectual Property Counsel at Warner
   3 Bros. Entertainment Inc. (“Warner Bros.”), one of the Plaintiffs in this action. I
   4 submit this declaration in support of Plaintiffs’ motion for a preliminary injunction.
   5 Except as to those matters stated on information and belief, the facts stated herein
   6 are known to me personally. As to those matters stated on information and belief, I
   7 am informed of the facts and believe them to be true. If called upon and sworn as a
   8 witness, I could and would testify competently to the contents of this declaration.
   9         2.    In my position, I am the head of the content protection and analytics
  10 group at Warner Bros. I have responsibility for content protection issues involving
  11 piracy of Warner Bros.’ motion pictures, television shows, and games. My
  12 responsibilities include the security for and protection of Warner Bros. content
  13 throughout all elements of the supply chain. I am familiar with Warner Bros.’
  14 strategies for the distribution of our copyrighted content, including our efforts to
  15 distribute our content to consumers across a range of digital viewing options.
  16 Through publicly available sources, such as industry publications and the media, I
  17 also have knowledge about similar efforts by other motion picture studios and the
  18 general means by which other studios, including the other Plaintiffs in this action,
  19 distribute their content.
  20 Warner Bros.’ Content Production and Distribution Business
  21         3.    Warner Bros. is a well-known entertainment company engaged in,
  22 among other things, the production and distribution of motion pictures and
  23 television shows (“Warner Bros.’ Works”). Warner Bros. disseminates its Works to
  24 the public through numerous distribution channels. These include, among others,
  25 digital streaming services, cable and satellite television providers, DVDs and Blu-
  26 ray Discs (and box sets thereof). Warner Bros. distributes its Works through a
  27 worldwide network of authorized licensees, distributors, and retailers, including
  28 online retailers.
                                                 -1-
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   1         4.    Warner Bros. and its affiliates invest substantial resources to bring
   2 motion pictures and television shows to consumers. Each project involves
   3 substantial risks. The upfront costs of producing, marketing, and distributing a
   4 major motion picture can be tens of millions of dollars or more. Warner Bros.’
   5 ability and willingness to incur these risks depends on Warner Bros.’ ability to earn
   6 a return on those investments by receiving remuneration for the rights to reproduce,
   7 distribute, and perform Warner Bros.’ movies and television shows.
   8         5.    Warner Bros.’ ability to control the exploitation of its copyrighted
   9 works is critical to its business.
  10         6.    Warner Bros. offers its content through a range of offerings that meet
  11 customer demand and at retail price points (set by the retailers) that are calibrated to
  12 those choices. Warner Bros.’ offerings include the following options, among others:
  13     • Customers can see our movies in the theater;
  14     • customers can buy a copy of the work on a physical disc, i.e., on DVD or Blu-
  15         ray disc;
  16     • customers can download and license long-term digital rights to a copy
  17         through a service like iTunes;
  18     • customers can rent a physical copy at a brick-and-mortar store or kiosk, like
  19         Redbox;
  20     • customers they can rent a movie or television episode or series on demand for
  21         a limited period of time through a cable, satellite, or internet video-on-
  22         demand platform (“VOD”), such as iTunes or Google Play (this is sometimes
  23         referred to as “transactional VOD” or “TVOD”);
  24     • customers can access and view a movie or television episode or series on
  25         demand through a subscription streaming service like Netflix, Hulu, or HBO
  26         NOW (this is sometimes referred to as subscription VOD, or “SVOD”);
  27     • customers can, eventually, watch a movie for free on network television.
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                                                               DECLARATION OF DAVID P. KAPLAN
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   1         7.     Each of these options is known as a “distribution channel” and is
   2 designed to provide different value to consumers matched to their willingness to
   3 pay. Based on my experience in the industry, I am aware that the other Plaintiffs in
   4 this matter utilize the same or similar distribution channels to offer their content to
   5 consumers. The commercial terms of Warner Bros.’ individual agreements are
   6 proprietary and confidential. We do not share them outside our company.
   7         8.     Warner Bros., like many other studios, utilizes a practice that is known
   8 as “windowing.” Windowing makes Warner Bros.’ Works available through
   9 different distribution channels at different times following the initial theatrical
  10 release of a particular title. Our agreements with distributors and licensees generally
  11 provide specific restrictions on when, after a title’s initial release, the distributor or
  12 licensee has the right to distribute or perform that title. Distributors and licenses
  13 generally will pay more for the right to distribute or perform movies in an earlier
  14 window—when that content is new, or newer—than for comparable rights during
  15 later windows. Some distributors and licenses will pay more for the exclusive right
  16 to distribute or perform Warner Bros.’ movies during a particular time period.
  17 Warner Bros. must negotiate restrictions in other agreements to allow for such
  18 exclusivity periods.
  19         9.     Warner Bros.’ digital distribution business has become increasingly
  20 important to the financial stability of the studio in recent years.
  21         10.    Warner Bros.’ contractual relationships with its distributors and
  22 licensees require the investment of significant time and resources. Warner Bros.
  23 employs dozens of individuals throughout the company who work full time
  24 negotiating or maintaining the company’s relationships with its digital licensees.
  25         11.    Some form of windowing is central to any motion picture distribution
  26 strategy and allows a content company to match different viewing offerings with
  27 consumers’ willingness to pay.
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   1 TickBox’s Distribution of TickBox TV Threatens Immediate, Irreparable
     Harm to Warner Bros. and the Other Plaintiffs
   2
   3      12. I am familiar with the activities of defendant TickBox in promoting and
   4 distributing its TickBox TV product. I also have reviewed the contemporaneously
   5 filed declaration of Prof. Ian Foster in support of Plaintiffs’ Motion for Preliminary
   6 Injunction.
   7       13. Defendant threatens a variety of serious and irreparable harms to
   8 Warner Bros. and the other Plaintiffs if it is permitted to continue its infringing
   9 activities.
  10         Defendant’s Promotion and Distribution of TickBox TV Harm Plaintiffs’
             Relationships with Distributors and Licensees, and Undermine Their Right
  11         to Control Distribution of Their Content
  12
             14.   Defendant deliberately induces the widespread, unlicensed use of
  13
       Warner Bros.’ content. This unlicensed use threatens the cornerstone of our digital
  14
       business—exclusive control over the distribution of our copyrighted works.
  15
             15.   Every time a user accesses an unauthorized stream of one of Warner
  16
       Bros.’ Works, Warner Bros. is not being compensated as it would be through an
  17
       authorized use of the same Work. By inducing precisely such unauthorized access,
  18
       Defendant’s unlawful conduct has caused, and will continue to cause, Warner Bros.
  19
       this very direct and fundamental harm on a daily basis.
  20
             16.   The harms from TickBox’s infringing conduct go well beyond the
  21
       already substantial harm of not being compensated for the exploitation of our
  22
       Works. The ultimate success or failure of our business depends on a carefully
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       designed strategy to build demand for our content with consumers across a variety
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       of viewing options provided by our distributors and licensees. We negotiate with
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       our distributors and licensees, among other subjects, how (under what conditions),
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       when (on what date and for what duration), what (which titles), and for how much
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                                                                 DECLARATION OF DAVID P. KAPLAN
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   1 (at what wholesale price) they can obtain the rights to distribute or publicly perform
   2 our content.
   3         17.    As I have discussed above, windowing is an important strategy for
   4 Warner Bros.’ exercise of its exclusive right to control the dissemination of its
   5 content.
   6         18.    Because TickBox operates free from licensing restrictions, its
   7 distribution of TickBox TV has the result of making our content available during
   8 windows occupied by different distribution channels or exclusivity periods held by
   9 authorized distributors or licensees. For example, new releases are, following their
  10 theatrical release, first released to distributors that sell digital download copies or
  11 physical copies on DVDs or Blu-ray discs. During these initial home entertainment
  12 release windows, Warner Bros.’ movies generally are not available for VOD
  13 streaming. TickBox TV, however, offers Defendant’s customers access to
  14 numerous links to newly released titles without regard for these exclusive windows.
  15 The effect of this is to interfere with and undermine Warner Bros.’ contractual
  16 commitments to and relationships with its distributors and licensees, and to
  17 undermine Warner Bros.’ negotiating position for future agreements with authorized
  18 distributors and licensees.
  19         19.    TickBox’s promotion and distribution of TickBox TV also undermines
  20 our theatrical releases. As explained in Prof. Foster’s declaration, customers using
  21 TickBox TV can (and are encouraged to) use “addons” that feature motion pictures
  22 that are still exclusively shown only in theaters (i.e., “only in theaters”).
  23 Defendant’s promotion of this activity directly undermines Warner Bros.’ exclusive
  24 rights, its windowing strategy, and its ability to maximize the value of its content.
  25         20.    Warner Bros. has very detailed terms and conditions on which it has
  26 agreed to license its content to online streaming services like VUDU, iTunes,
  27 Google Play, Netflix, and others. For example, our streaming agreements generally
  28 include, among other terms: (a) detailed provisions requiring technological
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   1 measures to protect the security of the transmission of the content to ensure against
   2 unlawful access, copying, and piracy; (b) provisions requiring minimum levels of
   3 quality for the content’s display, to ensure that consumers are receiving appropriate
   4 value; and (c) restrictions on making the content available during certain periods
   5 where other distributors or licensees have paid for exclusive distribution rights.
   6        21.    Unlicensed offerings such as Defendant’s and the sources to which
   7 TickBox TV links exploit Warner Bros.’ content independently of these and other
   8 licensing terms. This further undermines our business and the market more
   9 generally.
  10        Defendant’s Actions Undermine Warner Bros.’ and the Other Plaintiffs’
            Ability to Provide Licensed Offerings
  11
  12        22.    Warner Bros.’ relationships with the companies that distribute and
  13 perform our content are very important. The success of Warner Bros.’ business is
  14 very much intertwined with the success of their business.
  15        23.    I understand that current and prospective counter-parties to authorized
  16 distribution and license agreements raise issues during negotiations for new and
  17 renewed agreements, and during the duration of such agreements, that they find it
  18 difficult to compete with unlicensed services like TickBox, which do not operate in
  19 accordance with contractual requirements and do not pay for the content they
  20 exploit.
  21       24.     While unauthorized sources of content generally threaten the legitimate
  22 market for authorized content, the promotion and distribution of TickBox TV and
  23 other similar products have spurred significant growth in the use, access, and
  24 popularity of such illegal sources of content.
  25       25. Based on my experience in the industry and understanding of illegal
  26 services against which Warner Bros. and its distributors and licensees must
  27 compete, I believe the growth of illicit addons and sources of illegal conduct is
  28 fueled in part by the ease and convenience of the infringement that Defendant
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   1 induces. I understand that TickBox TV, loaded with the illicit addons that
   2 Defendant encourages its customers to utilize, provide those customers with the
   3 ability to quickly and easily locate dozens, and sometimes hundreds, of
   4 unauthorized sources for all of the latest and most popular content.
   5        26.    For example, Warner Bros. released its super-hero hit movie Justice
   6 League on November 17, 2017 . Justice League is scheduled to become available
   7 through a variety of authorized U.S. distribution channels, including VOD services
   8 like iTunes and Google Play in February 2018. While Warner Bros.’ and other
   9 authorized distribution channels offer consumers the ability to “pre-order” the
  10 digital release of Justice League, it is currently in its most exclusive “window”:
  11 theatrical release. TickBox TV offered its customers access to unauthorized streams
  12 of Justice League long before Warner Bros. had authorized any non-theatrical
  13 distribution of its copyrighted work. As demonstrated by the screenshots below, on
  14 November 29, 2017, less than two weeks after Warner Bros. released Justice League
  15 to theaters, a TickBox TV customer who searched for Justice League would have
  16 easy and unauthorized access to the title.
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                                                              DECLARATION OF DAVID P. KAPLAN
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   1 With just a few clicks, a TickBox customer could immediately begin streaming the
   2 infringing copy of Justice League.
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             27.    Without TickBox TV, Defendant’s customers might search one website
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       at a time to attempt to locate an unauthorized stream of Justice League. Even if that
  17
       customer were to locate a source for that movie, he or she could be disappointed
  18
       with broken links, slow connection speeds, or low-resolution video. If that source
  19
       did not provide other links to working or high-speed, high-resolution streams of the
  20
       content, the customer then would have to search for such content from another
  21
       source.
  22
             28.    TickBox TV, used as Defendant intends and encourages, does most of
  23
       the heavy lifting for customers and reduces or eliminates at least two significant
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       obstacles that customers desiring access to infringing content previously faced:
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       locating infringing material, and accessing functioning, high-speed, and high-quality
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       sources for that material.
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    1         29.    TickBox TV also offers Defendant’s customers a premium experience
    2 at no direct cost, contributing to a mistaken and incredibly harmful perception that,
    3 other than the customers’ payment to TickBox, content should be instantly and
    4 conveniently accessible for free. I am informed and believe that TickBox TV does
    5 not appear to use advertising or to charge customers users for the use of addons or
    6 accessing infringing streams. The interfaces for the addons that TickBox
    7 encourages its customers to use offer user-friendly, visually appealing interfaces that
    8 mimic the interfaces of legitimate VOD services like iTunes, Hulu, and others. For
    9 example, in the screenshot below, a TickBox customer who selected the “In
   10 Theatres” category on November 22, 2017, would view a list of popular titles that—
   11 when selected—feature a high-quality thumbnail of artwork associated with the title.
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              30.    Rather than pay for legitimate, authorized VOD services like Netflix,
   25
        Hulu, or Google Play, Defendant’s customers are able to use the TickBox TV device
   26
        to access our content, in an environment designed to be user-friendly, at no cost
   27
        beyond the purchase of the TickBox TV device.
   28
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    1        31.    For the foregoing reasons, Defendant’s TickBox TV poses a significant
    2 threat to the entire legitimate market for home entertainment, and in particular, for
    3 the online distribution market. Defendants’ unlicensed offering further threatens the
    4 development and growth of the legitimate on-demand streaming market because use
    5 of the device inculcates Defendant’s customers to the belief that high-speed and
    6 high-quality content can be accessed at no cost and with no advertisements. This
    7 threatens the very foundation of Warner Bros.’ business and the businesses of its
    8 distributors and licensees.
    9        32.    The extent of Warner Bros.’ losses arising from Defendant ‘s ongoing,
   10 illegal competition with Warner Bros., regarding content that Warner Bros. itself
   11 created or owns, cannot be calculated with precision, nor are these damages likely to
   12 be recoverable from TickBox, which I understand is owned or controlled by a small
   13 number of individuals.
   14        33.    Without the relief requested in this action, Defendant’s infringing
   15 activities will continue unabated and Warner Bros. will continue to suffer
   16 irreparable harm that no future damages award can mitigate.
   17        34.    Based on my understanding of the industry, I believe the harms to the
   18 other Plaintiffs from Defendant’s infringing activities are comparably imminent and
   19 irreparable as the harms to Warner Bros.
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